Case 20-10034-BLS Doc1 Filed 01/06/20 Page 1iof4

Fill in this information to identify the case:

 

United States Bankruptcy Court for the:

District of Delaware
(State)
Case number (if known): Chapter 1 1
() Check if this is an
amended filing

 

Official Form 205
Involuntary Petition Against a Non-Individual 12/45

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor’s name and case number (if

known).

 

eo Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed

4. Chapter of the Check one:

Bankruptcy Code
(2 Chapter 7

(4 Chapter 11

tae teentity the Debtor

2. Debtor’s name

 

Education Corporation of America

 

3. Other names you know
the debtor has used in
the last 8 years

 

 

 

 

Include any assumed
names, trade names, or
doing business as names.

 

4. Debtor's federal
Employer Identification CY Unknown

 

 

 

 

 

 

Number (EIN) 36 4 2 7 8 0 5 2
an aa r
5. Debtor's address Principal place of business Mailing address, if different
3600 Grandview Parkway c/o John F. Kennedy, Receiver
Number Street Number Street
231 Riverside Drive
P.O. Box
Birmingham AL 35243 Macon GA 31201
City State ZIP Code City State ZIP Code

Location of principal assets, if different from
principal place of business

Jefferson

County Number Street

 

 

 

 

 

 

City State ZIP Code

 

Official Form 205 Involuntary Petition Against a Non-Individual page 1

 
Case 20-10034-BLS Doc1 Filed 01/06/20 Page 2of4

Debtor Education Corporation of America Case number known)

 

Name

 

6. Debtor’s website (URL)

www.ecacolleges.com (disabled)

 

7. Type of debtor

 

 

(4 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
CJ) Partnership (excluding LLP)

 

(2 other type of debtor. Specify:

 

8. Type of debtor’s
business

Check one:

QO] Health Care Business (as defined in 11 U.S.C. § 101(27A))
C] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
CY Railroad (as defined in 11 U.S.C. § 101(44))

(J Stockbroker (as defined in 11 U.S.C. § 101(53A))

( Commodity Broker (as defined in 11 U.S.C. § 101(6))

() Clearing Bank (as defined in 11 U.S.C. § 781(3))

J None of the types of business listed.

CJ Unknown type of business.

 

9. To the best of your
knowledge, are any
bankruptcy cases
pending by or against
any partner or affiliate
of this debtor?

 

 

WA No
LI Yes. Debtor Relationship
District Date filed Case number, If known.
MM/DD /YYYY
Debtor Relatlonship
District Date flled Case number, if known.
MM/DD/YYYY

Ee Report About the Case

 

10. Venue

Check one:

(4 Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
business, or principal assets in this district longer than in any other district.

(2 A bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

 

11. Allegations

Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

At least one box must be checked:

{id The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
fide dispute as to liability or amount.

CJ Within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
agent appointed or authorized to take charge of less than substantially all of the property of the
debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

 

12. Has there been a
transfer of any claim
against the debtor by or
to any petitioner?

 

id No

Q] Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy
Rule 1003(a).

 

Official Form 205

Involuntary Petition Against a Non-Individual page 2

 

 
Case 20-10034-BLS Doc1 Filed 01/06/20 Page 3 of 4

 

 

 

 

 

 

 

 

 

oe Education Corporation of America Case number (ranown)
Name
13. Each petitioner’s claim Name of petitioner Nature of petitloner’s claim Amount of the claim
above the value of
any lien
Monroe Capital Private Credit Fund II LP Lender under Agented loan facility 1505 142.5 sch amounts pstaty secured
Reputation Partners LLC Services 3 09,872.05
BSF Richmond, LP Rent and Related Charges, 1,405,044,41
Total of petitioners’ claims $ 2,966,059.81

If more space Is needed to list petitioners, attach additional sheets. Write the alleged debtor’s name and the case number, if known, at
the top of each sheet. Following the format of this form, set out the information required In Parts 3 and 4 of the form for each

additional petitioning creditor, the petitioner's claim, the petitioner's representative, and the petitioner’s attorney. Include the
statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative’s) signature,
along with the signature of the petitioner’s attorney.

ee Request for Relief

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. Ifa
petitioning creditor is a corporation, attach the corporate ownership statement required by Bankruptcy Rule 1010(b). If any petitioner is a
foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

| have examined the information in this document and have a reasonable belief that the information is true and correct.

 

 

 

Petitioners or Petitioners’ Representative Attorneys

Name and mailing address of petitioner i

Monroe Capital Private Credit Fund I] LP 1, Jeremy W. Ryan

Name : i Printed name

311 S. Wacker Drive. 64th Floor _ Potter Anderson & Corroon LLP

 

 

Firm name, if any
Number Street

 

 

 

 

 

 

 

 

Chicago IL 60606 1313N. Market Street, Sixth Floor
Cily State ZIP Code ~ Number Street
Wilmington DE 19801

Name and mailing address of petitioner's representative, if any Clty State ZIP Code
Michael Egan, EVP : Contact phone (302) 984-6000 £44 iryan@potteranderson.com
Name oe

311 S. Wacker Drive, 64th Floor / parnumber 4057
Number Street Ly

Chicago IL 60606 State Delaware
City State ZIP Code *

| declare under penalty of perjury that the foregoing is true and correct.

01/06/2020 oC a

E L ;

xecuted on oar DD TW x ; A | L, A /\ h

 

  
 

  

Signaturedf patiitoner © rieluding representative’s tle Date sidned 01/06/2020
MM /DD /YYYY —

: Signatur alto, ney V ’
r ye U

 

 

 

 

Official Form 205 Involuntary Petition Against a Non-Individual page 3

 
Case 20-10034-BLS Doc1 Filed 01/06/20 Page 4of4

Debtor Education Corporation of America

 

Name

Case number (if kaown)

 

Name and mailing address of petitioner

Reputation Partners LLC

Name

30 W. Monroe Street, Suite 1410

Number = Street

Chicago IL

City State

 

 

60603

ZIP Code

 

Name and mailing address of petitioner’s representative, if any

Nick Kalm, Founder & President

Name

30 W. Monroe Street, Suite 1410
Number Street
Chicago IL

City State

 

 

60603

ZIP Code

 

| declare under penalty of perjury that the foregoing is true and correct. :

Executed on 01/06/2020

- MM /DD/YYYY

xB @. be

Bqrusin of petitioner or rapraeaniallve, ioluding pepraneninivea Wis -
Founpe? PRESIDENT

 

Jeremy W. Ryan

Printed name

Potter Anderson & Corroon LLP

 

Firm name, If any

1313 N. Market Street, Sixth Floor

Number Street

Wilmington DE

Clty State
(302) 984-6000 ,.,,., Jryan@potteranderson.com

19801

ZIP Code

 

Contact phone

 

4057

Bar number

 

State Delaware

dy AD

Stra e of alt ney

01/06/2020

MM /DD /YYYY

 

Date signed

 

 

Name and mailing address of petitioner

BSF Richmond, LP

Name

c/o Bond Companies, 350 W. Hubbard Street

Number Street

Chicago IL

City State

 

 

60654

ZIP Code

 

Name and mailing address of petitioner's representative, if any

Rob Bond, Authorized Signatory

Name

350 W. Hubbard Street

Number Street

Chicago IL

City State

 

 

60654

ZIP Code

 

| declare under penalty of perjury that the foregoing is true and correct

Exe itary on 01/06/2020

MM (DD IYYYY

es orre

Official Form 205

   

 

a tatlve, In Including representative's lille

 

 
 

tnvoluntary Petition Against a Non-Individual

Jeremy W. Ryan

 

Printed name

Potter Anderson & Corroon LLP

 

Firm name, if any

1313 N. Market Street, Sixth Floor

 

Number Street

 

 

 

Wilmington DE 198014
City State ZIP Code
Contact phone (302) 984-6000 5,4 Iryan@potteranderson.com
Bar number 4057

State Delaware _

mya

V
Signat re of tre

01/06/2020

MM /DD /YYYY

Date signed

page 4

 

 
